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                   EXHIBIT 3 - CAPUZZI CERTIFICATION
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     UNITED STATES BANKRUPTCY COURT
      FOR THE DISTRICT OF NEW JERSEY
      Caption in Compliance with D.N.J. LBR 9004-1(a)

Benesch, Friedlander, Coplan & Aronoff LLP
Michael J. Barrie (NJ No. 033262000)
Kevin M. Capuzzi (NJ No. 173442015)
Continental Plaza II
411 Hackensack Ave., 3rd Floor
Hackensack, NJ 07601-6323
Telephone: (302) 442-7010
Facsimile: (302) 442-7012
mbarrie@beneschlaw.com
kcapuzzi@beneschlaw.com

Counsel to 710 Route 38 ABL I Holdings, LLC
                                                        Chapter 11
In re:
                                                        Case No. 21-17116 (CMG)
                                                 1
EVERGREEN I ASSOCIATES, LLC, et al.,
                                                        (Jointly Administered)
                                 Debtors.
                                                        Judge: Christine M. Gravelle


               CERTIFICATION OF KEVIN M. CAPUZZI, ESQ. IN SUPPORT OF
                THE MOTION OF 710 ROUTE 38 ABL I HOLDINGS, LLC FOR
    (I) ADEQUATE PROTECTION PURSUANT TO 11 U.S.C. §§ 361 AND 363(e), AND/OR
        (II) RELIEF FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(d)

           KEVIN M. CAPUZZI, ESQUIRE, of full age, hereby certifies as follows:

           1.     I am an attorney with the law firm of Benesch, Friedlander, Coplan & Aronoff

LLP, counsel of record for 710 Route 38 ABL I Holdings, LLC (“Lender”) in the above-

captioned bankruptcy proceedings and am counsel of record to Pender Capital Asset Based

Lending Fund I, LP (“Pender”), the plaintiff in the foreclosure action captioned Pender Capital

Asset Based Lending Fund I, LP v. Evergreen Plaza Associates LLC, et al., Case No. SWC-F-

1
           The Debtors in these chapter 11 cases and the last four digits of the Debtors’ taxpayer
           identification numbers are as follows: Evergreen I Associates, LLC (5258), Evergreen II
           Associates, LLC (5300), Evergreen III Associates, LLC (5332), and Evergreen Plaza
           Associates, LLC (5141).



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002953-19 (N.J. Super. Ch. Div.) (the “Foreclosure Action”). Because I am the attorney of

record for Lender in this matter, and Pender in the Foreclosure Action, I am aware of the facts set

forth herein.

         2.     This Certification is submitted in support of Motion of 710 Route 38 ABL I

Holdings, LLC for Adequate Protection Pursuant to 11 U.S.C. §§ 361 and 363(e) (the

“Motion”),2 submitted contemporaneously herewith.

         3.     Attached hereto as Exhibit F is a true and correct copy of the Original Receiver

Order.

         4.     Attached hereto as Exhibit G is a true and correct copy of the Amended Receiver

Order.

         5.     Attached hereto as Exhibit H is a true and correct copy of the Summary

Judgment Order.

         6.     Attached hereto as Exhibit I is a true and correct copy of the Amount Due Order.

         7.     Attached hereto as Exhibit J is a true and correct copy of the Foreclosure

Judgment.

         8.     Attached hereto as Exhibit K are true and correct copies of the Lumberton and

Mount Holly public real property tax records showing amounts due for each parcel of the

Property.

         9.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.


Dated: December 28, 2021                          /s/ Kevin M. Capuzzi
                                                Kevin M. Capuzzi (NJ No. 173442015)


2
         Capitalized terms not otherwise defined herein shall have the meanings ascribed to them
         in the Motion.


                                                 2
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                      EXHIBIT G
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                      EXHIBIT H
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                                                                             JUL 15, 2020
BY THE COURT                                                         Kathi F. Fiamingo, J.T.C. t/a

 PENDER CAPITAL ASSET BASED
 LENDING FUND I, LP,

                  Plaintiff,                        SUPERIOR COURT OF NEW JERSEY
                                                    CHANCERY DIVISION: BURLINGTON
 v.                                                 COUNTY

 EVERGREEN PLAZA ASSOCIATES LLC,                    DOCKET NO. F-002953-19
 EVERGREEN I ASSOCIATES LLC,
 EVERGREEN II ASSOCIATES LLC, and                   CIVIL ACTION
 EVERGREEN III ASSOCIATES, LLC,
                                                    ORDER
                  Defendants.


         This matter having been brought before the court by Benesch, Friedlander, Copan &

Aronoff, LLP, attorney’s for plaintiff (Kevin Capuzzi, Esq. appearing) in the presence of Walter

Murawinski, Esq., attorney for defendants, and the Court having considered the moving and

responding papers and the arguments of the parties; and for good cause shown;

         IT IS on this 15th day of July 2020,

ORDERED that:

      1. Summary judgment in favor of Plaintiff and against Defendants Evergreen Plaza

         Associates LLC, Evergreen I Associates, LLC, Evergreen II Associates, LLC, and

         Evergreen III Associates, LLC (together, “Defendants”) on all counts set forth in Plaintiff’s

         Complaint is granted;

      2. Defendants’ answer is stricken, default is entered against defendants;

      3. Defendants’ counterclaims are dismissed;

      4. This matter is referred to the Office of Foreclosure to proceed as an uncontested action;
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  5. Plaintiff’s motion to authorize the rent receiver to sell the mortgaged property in advance

     of final judgment is denied without prejudice;

  6. Defendants’ motion to compel depositions is denied;

  7. Plaintiff’s motion to approve the use of cash collaterall/escrow account held by plaintiff

     for use by the rent receiver to fund the replacement of the roof at the mortgaged property

     is granted;

  8. This order will be served upon the parties via eCourts.



                                                  /s/ Kathi F. Fiamingo
                                                  Kathi F. Fiamingo, J.T.C. t/a




                                              2
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                                                             75 with the               Court
                                                                             JUL 15, 2020
                                                                     Kathi F. Fiamingo, J.T.C. t/a

PREPARED BY THE COURT


PENDER CAPITAL ASSET BASED
LENDING FUND I, LP,
                                                          SUPERIOR COURT OF NEW JERSEY
                                Plaintiff,                     CHANCERY DIVISION
               v.                                             BURLINGTON COUNTY

EVERGREEN PLAZA ASSOCIATES, et al.,                             DOCKET NO. F-002953-19

                                Defendants.                            CIVIL ACTION

                                                               STATEMENT OF REASONS


Kevin Capuzzi, Esq., Benesch, Friedlander, Coplan & Aronoff LLP
      Attorney for Plaintiff.

Walter Murawinski, Esq., Law Offices of Walter Murawinski, Esq.
       Attorney for Defendant.

This application was opposed
Proof of service was provided



REQUESTED RELIEF

       Pending before the court is plaintiff’s: (1) motion for summary judgment, dismiss

counterclaims and authorize the sale of the subject property, and (2) motion to “approve use of

cash collateral or, alternatively to approve advance under default rate of interest. 1” Also before

the court is defendants’ motion to compel depositions. For the reasons discussed below, the court




       1
         Plaintiff’s third motion to compel compliance with the receiver’s order was adjourned to
August 7, 2020 to permit necessary parties to that motion an opportunity to intervene in this action.
An interim order directing the tenants to pay over the rents to the receiver and directing the receiver
to escrow $10,000 of the rents until further order of the court.
                                                  3
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grants plaintiff’s motion for summary judgment and dismisses defendants’ counterclaims as non-

germane to the foreclosure action. Plaintiff’s motion to authorize the sale of the subject property

by the rent receiver in advance of final judgment is denied. Defendants’ motion to compel

depositions is denied. Plaintiff’s motion to approve the use of cash collateral is granted.

FACTUAL BACKGROUND2 AND PROCEDURAL HISTORY

       On March 14, 2018, Evergreen Plaza Associates LLC, Evergreen I Associates LLC,

Evergreen II Associates LLC, and Evergreen III Associates LLC (collectively “defendants”)

executed a promissory note (the “note”) in favor of Pender Capital Asset Based Lending Fund I,

L.P. (“plaintiff”) in the principal amount of $6,500,000.00.3 On even date, defendants executed a

Mortgage, Assignment of Rents and Security Agreement (the “mortgage”) to plaintiff

encumbering the real property known as Lot 2 in Block 117.02 on the Tax Map of the Township

of Mount Holly, Lot 4.01 in lock 22 on the Tax Map of the Township of Lumberton, and Lots 2.04

and 2.05 in Block 117.02 on the Tax Map of the Township of Mount Holly and Lot 4.10 in Block

22.01 on the Tax Map of the Township of Lumberton, being more commonly known as S.


       2
           The following facts are obtained from the Statement of Material Facts submitted by
plaintiff to the extent supported by appropriate certifications and competent evidence. Where
defendant has disputed any such fact, the court has so indicated. The court notes that no
certification of any representative of plaintiff with personal knowledge of certain facts set forth in
the Statement of Material Facts was submitted. The only certification provided was that of
plaintiff’s counsel. Counsel would be well advised to refrain from providing certifications with
information about which he has no personal knowledge. “Attorneys in particular should not certify
to ‘facts within the primary knowledge of their clients.’” Deutsche Bank Nat'l Trust Co. v.
Mitchell, 422 N.J. Super. 214, 226 (App. Div. 2011) (citing See Pressler & Verniero, Current N.J.
Court Rules, comment on R. 1:6-6 (2011); Higgins v. Thurber, 413 N.J. Super. 1, 21 n.19
(App.Div.2010), aff'd, 205 N.J. 227 (2011); Gonzalez v. Ideal Tile Importing Co., 371 N.J. Super
349, 358 (App. Div. 2004) (“Even an attorney’s sworn statement will have no bearing on a
summary judgment motion when the attorney has no personal knowledge of the facts asserted.”)
Here counsel has also provided sufficient competent proof in the nature of deposition transcripts
and answers to interrogatories which support the material facts relied upon by the court.
        3
          Defendant does not dispute the loan documents but asserts that the loan was not “fully
funded.”
                                                  4
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Pemberton Road and 1722 Route 38, Mt. Holly, NJ 08060 (“subject property”). The mortgage

was recorded at the Office of the Burlington County Clerk on April 5, 2018, it is not a purchase

money mortgage. On September 13, 2018, the parties executed an Amendment to the Mortgage.

The amendment was recorded on October 2, 2018.

       Plaintiff maintains that defendants are in default for failing to make the payments due on

December 1, 2018 and thereafter. Although defendants admit that the payments were not made,

defendants dispute plaintiff’s characterization that its failure to make the payments due on

December 1, 2018, January 1, 2019 and thereafter constitutes a default. Instead defendants contend

that plaintiff was in default for its failure to make payments to unnamed contractors from a “set

aside” of funds from the note. Although defendants’ representative certifies to such a default, he

does not provide a copy of any document imposing such an agreement or which provides that such

failure constitutes a default by plaintiff, excusing defendants’ performance under the note and

mortgage.

       On April 1, 2019, the loan came due according to the terms of the note and all amounts due

thereunder became due and payable. In response defendants dispute the amount claimed to be due

and assert that plaintiff does not have a “legitimate loan” because “[a]ll funds were not loaned.”

Defendants dispute that they have not paid the indebtedness due under the note but provides no

proof of payment of any amount. As indicated above, defendants acknowledge that no payments

on the note have been made since November 2018.

       On June 20, 2019, a Tax Lien Certificate number 19-00051 was sold for property located

at Block 22, Lot 4.01 on the Lumberton Township Tax Map constituting a default under the note

and mortgage. Defendants acknowledge that the lien was placed on the subject property but denies

its obligation to make the tax payments. Defendants assert that it was plaintiff’s responsibility to



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pay taxes from $200,000 held back form the loan proceeds. Defendants do not provide any

reference to any document or otherwise to support that assertion.

       Plaintiff filed a complaint in foreclosure on February 12, 2019. Defendants filed an answer,

affirmative defenses and counterclaims on June 4, 2019. The counterclaims allege plaintiff (a)

tortuously interfered with defendant’s contractual relations with its tenants, contractors and other

third parties with respect to the subject property; (b) tortuously interfered with defendants’

business relationships with its tenants, contractors and other third parties; (c) breached its

agreement with defendants by failing to make timely payments to contractors and otherwise

properly administer the loan; (d) breached covenants of good faith and fair dealing “implicit in the

Loan Agreement”; (e) was unjustly enriched due to improvements made to the subject property by

defendants; and (f) made false and misleading statements upon which defendants relied to their

detriment. Defendants claim compensatory and punitive damages and demand a jury trial.

       On June 7, 2019 plaintiff filed a motion to appoint a rent receiver which was granted on

August 26, 2019 over defendants’ objections. On October 25, 2019, the rent receiver filed a motion

to authorize it to retain counsel to represent it which was granted on November 22, 2019.

       Also of importance to the resolution of this matter, is prior litigation between the parties

and/or their affiliates. In or about February 2019 M.J. Realty Associates, LLC, M.J. Realty

Associates II LLC and V.P.I. Capital Partners filed a third-party complaint against plaintiff in an

action in the Superior Court of New Jersey, Law Division, Essex County as Lowenthal v. Aynilian,

Docket No. L-9005-18. The third-party complaint alleged substantially identical claims against

plaintiff with respect to a loan transaction secured by property located in Hazelton, Pennsylvania

owned by entities affiliated with defendants. That action was dismissed with prejudice on May

21, 2019.



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       Additionally, plaintiff asserts and defendant acknowledges an action was brought in

Pennsylvania entitled M.J. Realty Associates, LLC, et al. v. Pender Capital Asset Based Lending

Fund I, LP, as case No 2019-1607 (Pa. C.C.P. Luzerne County) in which the claims brought in the

Essex County third party complaint were brought in a direct action against plaintiff. Plaintiff

asserts that both matters were resolved with the result that both the Pennsylvania action and the

Essex County litigation claims were dismissed/withdrawn with prejudice. Defendants dispute the

characterization of the settlement as a dismissal/withdrawal but admit that the matters were

dismissed pursuant to a settlement between the parties.

       In response to plaintiff’s assertion that the allegations of defendants’ counterclaims in this

matter relate to the Pennsylvania loan transaction, defendant’s response was “Disputed. The

Hazelton matter is inextricably intertwined with the New Jersey matter. The lender is the same

entity, with the same principals, the individual loans were cross-collateralized and cross-

guaranteed. (As admitted by Plaintiff’s counsel in open Court).”

       On February 28, 2020, plaintiff filed the instant motion for summary judgment. On March

11, plaintiff filed a motion to direct compliance with the rent receiver order and on same date

defendants filed a motion to compel the depositions of Zach Murphy, Tyler Tinoco, and Neal

Beldock. These motions were originally scheduled to be heard on March 27, 2020.

       On March 17, 2020, defendants’ counsel requested the motions be adjourned to allow time

to respond due to the current COVID-19 pandemic. The motions were then scheduled to be heard

on April 24, 2020. On March 19, 2020, plaintiff filed opposition to defendants’ motion to compel

the depositions. On April 14, 2020, defendants’ counsel requested the motions be adjourned again

due to the COVID-19 pandemic. The court granted the adjournment request and scheduled the

motions to be heard May 22, 2020. On May 12, 2020, defendants’ counsel filed opposition to



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plaintiff’s motion for summary judgment. Oral argument was scheduled for May 22, 2020, but

again adjourned at defendants’ request until July 10, 2020.

         On July 10, 2020, the court heard oral argument and as noted above adjourned one of the

motions brought by plaintiff to permit the intervention of necessary parties to that motion.

Unfortunately, the court was unable to conclude argument due the request of counsel for

defendants that he be permitted to be excused due to an unexpected medical issue which arose

during the course of argument. The matter was then adjourned to July 14, 2020. Defendants’

counsel was advised that due to the extreme age of the motion and the pending trial date of July

22, 2020, the motion would be heard peremptorily on July 14, 2020. The court instructed

defendants’ counsel that if he were unable to appear substitute counsel should be engaged for the

purpose of arguing the motions, or the motions would be heard on the papers.

         On July 13, 2020 defendants’ counsel informed the court by letter that he was unable to

continue with his representation of defendants and had to “withdraw” from the matter. He advised

the court that his clients consented to the motions being heard on the papers, but requested that the

argument of plaintiff’s counsel heard on July 10, 2020 be “stricken” due to his inability to respond.

Plaintiff consented to the waiver of oral argument, but objects to the proposed withdrawal of

defense counsel and his request that the oral argument be stricken.

LEGAL ANALYSIS

    I.      Request to withdraw from representation

         Initially the court acknowledges the request of defendants’ counsel to withdraw from his

representation in this matter, but denies the request. R. 1:11-2 sets forth the requirements

applicable to a withdrawal or substitution of attorney. Specifically, R. 1:11-2(a)(2) provides that

after


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                 the fixing of a trial date in a civil action, an attorney may withdraw
                 without leave of court only upon the filing of the client’s written
                 request, a substitution of attorney executed by both the withdrawing
                 attorney and the substituted attorney, a written waiver by all other
                 parties of notice and the right to be heard, and a certification by both
                 the withdrawing attorney and the substituted attorney that the
                 withdrawal and substitution will not cause or result in delay.

          Defendants’ counsel has not complied with the requirements of the cited rule. Until those

requirements are met, the court cannot accede to counsel’s request.

    II.      Motion for Summary Judgment

          Summary judgment must be granted if “the pleadings, depositions, answers to

interrogatories and admissions on file, together with affidavits, if any, show that there is no genuine

issue as to any material fact challenged and that the moving party is entitled to a judgment or order

as a matter of law.” R. 4:46-2(c). The trial court’s “function is not . . . to weigh the evidence and

determine the truth . . . but to determine whether there is a genuine issue for trial.” Brill v. Guardian

Life Ins. Co. of Am., 142 N.J. 520, 540 (1995) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 249 (1986)). The trial judge must consider “whether the competent evidential materials

presented, when viewed in the light most favorable to the non-moving party, are sufficient to

permit a rational fact finder to resolve the alleged disputed issue in favor of the non-moving party.”

Ibid. When the facts present “a single, unavoidable resolution” and the evidence “is so one-sided

that one party must prevail as a matter of law,” then a trial court should grant summary judgment.

Ibid. “The party defending against a motion for summary judgment cannot defeat the motion

unless it provides specific facts that show the case presents a genuine issue of material fact, such

that a jury might return a verdict in its favor.” School Alliance Ins. Fund v. Fama Constr. Co., 353

N.J. Super. 131, 135-136 (Law Div. 2001) (citing Anderson v. Liberty Lobby Inc., 477 U.S. 242,




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248 (1986)).   All material facts submitted by the movant which are sufficiently supported are to

be deemed admitted unless the other party specifically disputes such facts. See R. 4:46-2(b).

       Moreover, Rule 4:46-5(a) provides:

               When a motion for summary judgment is made and supported as
               provided in this rule, an adverse party may not rest upon the mere
               allegations or denials of the pleading, but must respond by affidavits
               meeting the requirements of R. 1:6-6 or as otherwise provided in
               this rule and by R. 4:46-2(b), setting forth specific facts showing
               that there is a genuine issue for trial. If the adverse party does not
               so respond, summary judgment, if appropriate, shall be entered,
               unless it appears from the affidavits submitted, for reasons therein
               stated, that the party was unable to present by affidavit facts
               essential to justify the opposition, in which case, the court may deny
               the motion, may order a continuance to permit additional affidavits
               to be obtained, depositions to be taken or discovery to be had, or
               may make such other order as may be appropriate.

       Plaintiff argues that summary judgment is appropriate here because it has shown a prima

facie right to foreclose on the subject property. To establish a prima facie case in a foreclosure

proceeding, a plaintiff must establish the validity of the mortgage, default on the debt by the

mortgagor, and the right of the mortgagee to resort to the mortgaged premises. Great Falls Bank

v. Pardo, 263 N.J. Super. 388, 394 (Ch. Div. 1993).

       As noted above, plaintiff supports its motion with a certification signed by the attorney of

record, Michael Barrie, Esq. No representative of plaintiff with personal knowledge of the matters

set forth in the certification has been provided. Nonetheless, counsel supports the certification

with references to the transcript of the deposition of defendants’ representatives, interrogatory

responses and documentary evidence which is not in dispute. Thus, competent evidential proof

has been submitted by plaintiff in support of this motion.

       Here defendants do not dispute the validity of the mortgage. Additionally, defendants do

not deny that they have failed to make any payments on the note since November 2018. Although



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defendants dispute that the failure to make those payments constitutes a default, it is undisputed

that the note requires monthly payments and that the failure to do so constitutes a default under

paragraph 22(a) of the mortgage.

       Defendants’ contention that it is plaintiff and not defendants that are in default is

unsupported by any competent proof. Defendants have provided nothing to support the contention

that a “default” by plaintiff occurred other than the self-serving certification of defendants’

representative. Nor have defendants provided anything that would support a contention that a

default by plaintiff would absolve defendants from making the payments due.              Moreover,

defendants’ representative acknowledged in deposition that the loan matured, according to its

terms, as amended, on April 1, 2019, was not further extended, and was not paid. Thus, it is clear,

that the mortgage note which defendants acknowledge was signed by them, has not been paid when

due, is in default and that plaintiff is entitled to resort to the mortgaged premises under the

mortgage.

       Plaintiff further contends that defendants’ failure to pay the taxes due and permitting the

lien of the tax sale certificate to be imposed is an additional cause of default. The mortgage

agreement at paragraph 15(a) provides “[s]ubject to the provisions of Section 15(c) and Section

15(d), Borrower shall pay, or cause to be paid, all Taxes when due and before the addition of any

interest, fine, penalty, or cost for nonpayment.” Additionally, paragraph 22(g) of the mortgage

provides that defendant’s “failure to perform any of its obligations” under the mortgage constitutes

a default. Defendants’ assertion that it was plaintiff’s obligation to make the payment of taxes

from a holdback at closing is not supported by any competent proofs or documentary evidence and

is insufficient in the face of plaintiff’s proofs to the contrary. Unsupported and self-serving




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statements in light of overwhelming evidence to the contrary does not create a question of fact to

defeat summary judgment. See Heyert v. Taddese, 431 N.J. Super 388, 404-414 (App. Div. 2013).

           Additionally, there is no genuine factual dispute that plaintiff has standing to bring this

foreclosure action. To establish standing to bring a foreclosure action, a plaintiff must show that

it is either in possession of the note or was assigned the mortgage at the time it brought the

complaint. Deutsche Bank v. Mitchell, 422 N.J. Super. 214, 225 (App. Div. 2011). The Appellate

Division, in Deutsche Bank Trust Co. Americas v. Angeles, 428 N.J. Super. 315, 318 (App. Div.

2012), clarified that “[i]n Mitchell, we held that either possession of the note or an assignment of

the mortgage that predated the original complaint conferred standing.” (emphasis added). Plaintiff

is the original lender and always had possession of the note and mortgage. Thus standing cannot

is not at issue.

           For all the foregoing reasons, summary judgment in favor of plaintiff is granted.

    III.      Motion to dismiss counterclaims

           Plaintiff further moves to dismiss defendants’ counterclaims asserting that they are barred

by the doctrine of Res Judicata. Plaintiff asserts that the same claims were raised in both the Essex

County litigation as a Third-Party Complaint and as a direct claim against plaintiff in the

Pennsylvania litigation. In the factual contentions set forth in the counterclaims, defendants allege

that the claims being made relate to the loan transaction on the New Jersey property. In the

statement of material facts, plaintiff states that the allegations in defendants’ counterclaims relate

to a “separate loan concerning property in Hazelton, Pennsylvania . . . and involving the Hazelton

Borrowers who, while also controlled by Aynilian, are not parties to this action.” Defendants’

response to that statement is “Disputed. The Hazelton matter is inextricably intertwined with the

New Jersey matter. The lender is the same entity, with the same principals, the individual loans



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were cross-collateralized and cross guaranteed.” Defendants’ response appears to concur with

plaintiff’s assertion that the counterclaims relate to the Hazelton loan transaction. At best,

defendants’ reply is confusing and unclear. It is clear, however, that defendants contend that both

the current loan transaction and the Pennsylvania loan transaction are “inextricably intertwined.”

Arguably then, such claims were “intertwined” with the claims set forth in both the third-party

complaint filed in the Essex County litigation and the direct claims in the Pennsylvania litigation.

Those claims were dismissed, with prejudice, in both cases. In that case, plaintiff’s argument that

defendants’ counterclaims are barred as a result of the doctrine of res judicata has merit.

       As noted by our Supreme Court,

               The concept that a party is required to bring all possible claims in
               one proceeding is embodied in the closely linked concepts of res
               judicata and the entire controversy doctrine. See Long v. Lewis, 318
               N.J.Super. 449, 459, (App. Div. 1999) (“The claim preclusion aspect
               of the entire controversy doctrine is essentially res judicata by
               another name.”). Under both federal law and this State's law, claim
               preclusion requires that

               (1) the judgment in the prior action must be valid, final, and on the
               merits; (2) the parties in the later action must be identical to or in
               privity with those in the prior action; and (3) the claim in the later
               action must grow out of the same transaction or occurrence as the
               claim in the earlier one.

               [Watkins v. Resorts Int'l Hotel & Casino, Inc., 124 N.J. 398, 412,
               (1991) (citations omitted).]

               “Claim preclusion applies not only to matters actually determined in
               an earlier action, but to all relevant matters that could have been so
               determined.” Ibid. (citing Angel v. Bullington, 330 U.S. 183, 192-
               93, (1947); Culver v. Insurance Co. of N. Am., 115 N.J. 451, 463,
               (1989)).

               “[C]auses of action are deemed part of a single ‘claim’ if they arise
               out of the same transaction or occurrence. If, under various theories,
               a litigant seeks to remedy a single wrong, then that litigant should
               present all theories in the first action. Otherwise, theories not raised
               will be precluded in a later action.”

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               [Id. at 413, 591 A.2d at 599 (citations omitted); see Mortgagelinq
               Corp. v. Commonwealth Land Title Ins. Co., 142 N.J. 336, 338
               (1995); Giudice v. Drew Chemical Corp., 210 N.J. Super. 32, 41-
               42,               (App.                 Div.               1986).]

               McNeil v. Legislative Apportionment Comm’n, 177 N.J. 364, 395
               (2003).


       It is not at all clear if, as plaintiff maintains, the facts set forth in defendants’ counterclaims

relate to the loan transaction in New Jersey or Pennsylvania. What is clear, however, is that

defendants asserted in the within counterclaims that the Pennsylvania transaction and the New

Jersey transaction were “inextricably entwined.” Defendants’ affiliates which brought the third-

party complaint in the Essex County litigation similarly alleged that the two transactions were

“inextricably entwined.” Indeed, in responding to plaintiff’s statement of material facts defendants

again maintain that the two transactions were “inextricably intertwined” while appearing to dispute

that the dismissal with prejudice of the Essex County and Pennsylvania actions is not dispositive

of the current claims. Moreover, defendants voluntarily dismissed its third-party complaint, and

the claims set forth therein, with prejudice.

       Although defendants assert that the two transactions were “inextricably entwined” it is not

clear if the claims arise out of the same transaction or occurrence. Plaintiff has not provided any

competent evidence that the facts underlying the counterclaims arise out of the same transaction

as in the Pennsylvania transaction. Defendants assert that the intertwining occurs as a result of

cross-collateralization, not due to the same facts or same transaction.

       Determining whether the issues are identical requires consideration of

               [1] whether there is substantial overlap of evidence or argument in
               the second proceeding; [2] whether the evidence involves
               application of the same rule of law; [3] whether discovery in the first



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                proceeding could have encompassed discovery in the second; and
                [4] whether the claims asserted in the two actions are closely related.

                [First Union Nat’l Bank, v. Penn Salem Marina, Inc., 190 N.J. 342,
                353 (2007).]


         Nothing provided by plaintiff in support of its motion supports such a determination. Thus,

the court is unable to determine whether the claim should now be precluded due to the dismissal

with prejudice of the actions relating to the Pennsylvania transaction.

         The court now reviews the question of whether such counterclaims are germane to the issue

of foreclosure. In foreclosure actions, only counterclaims deeded to be germane may be asserted.

R. 4:64-5. Defendants’ counterclaims relate to alleged actions by the plaintiff which are not

germane to the foreclosure action. Defendant asserts tortious interference with contractual and

business relationships, breach of contract, breach of covenants of good faith and fair dealing, unjust

enrichment, and unspecified fraud apparently occurring after the granting of the mortgage. Even

assuming the counterclaims are valid and supportable, none of those claims challenge the right of

the mortgagee to foreclose, dispute the amount of the indebtedness, or otherwise have a direct

connection with the subject matter of the foreclosure complaint. Thus, they are not properly

brought in the current action before the court and are dismissed.

   IV.      Motion to authorize the rent receiver to market and sell the subject property

         Plaintiff moves to permit the rent receiver to market and sell the subject property in lieu of

a sheriff’s sale and in advance of establishing the amount due. Plaintiff refers to N.J.S.A. 2A:50-

31 in support of its motion. The referenced statute provides

                When, in an action for the foreclosure or satisfaction of a mortgage
                covering real or personal property, or both, the property mortgaged
                is of such a character or so situated as to make it liable to deteriorate
                in value or to make its care or preservation difficult or expensive
                pending the determination of the action, the superior court may,

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               before judgment, upon the application of any party to the action,
               order a sale of the mortgaged property to be made at public or private
               sale through a receiver, sheriff, or otherwise, as the court may direct.
               The proceeds of any such sale shall be brought into court, there to
               remain subject to the same liens and equities of the parties in interest
               as was the mortgaged property and to be disposed of as the court
               shall, by order or judgment, direct.

        Plaintiff provides nothing to the court to support any determination that the property is of

a character to make it liable to deteriorate in value or make its care or preservation difficult or

expensive pending judgment. Indeed, the court has appointed a receiver to maintain the subject

property pending final judgment and to manage the property. Nothing provided by plaintiff or the

receiver in support of this motion supports any conclusion that the property is either deteriorating

in value or is difficult or expensive to maintain.

        The sole basis for plaintiff’s position is the “continuing expansion of the debt due and

owing to the lender.” Somewhat disingenuously, plaintiff fails to mention that it is still in

possession of a sizable hold back from the closing, and has recently receive a significant sum from

the rent receiver, both of which would and should reduce the expanding debt.

        Plaintiff has not provided any reliable basis upon which this court can support a

determination that the property should be sold in advance of final judgment. Plaintiff’s motion for

such relief is denied without prejudice.4

   V.       Motion to compel depositions

        Defendants move for an order compelling depositions which they admit they never noticed

and never formally requested. Moreover, the case management order issued by this court on

January 10, 2020 provided that “[a]ny depositions required by defendant shall take place on or



        4
          The court is mindful that at the present time the Burlington County Sheriff has suspended
sheriff’s sales due to the Covid-19 pandemic. If after plaintiff has obtained final judgment sheriff
sales have not resumed, plaintiff may wish to consider refiling the motion.
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before February 21, 2020. No further extensions shall be granted.” Despite such order

defendants never arranged for any depositions, and did not move to compel depositions until

March 11, 2020, after the period for discovery had ended. See R. 4:24-1(c) (Motions to extend

discovery to be returnable before the conclusion of the applicable discovery period.)

         Discovery had been extended several times, and trial scheduled on multiple occasions.

Nevertheless, defendants failed to issue a notice to depose the requested witnesses at any time prior

to the expiration of any of the specified discovery end date. Furthermore, in light of the court’s

determination to grant summary judgment herein and to dismiss defendants’ counterclaims,

defendants’ request is moot. Thus, the court denies defendants’ motion to compel deposition.

   VI.      Motion to Approve the use of cash collateral/advance funds

         Plaintiff avers that the roof on the subject property requires replacement. Plaintiff further

avers that the rent receiver does not have sufficient funds to make payment in full of the contract

price, although he has made the first installment. Plaintiff asks that the court authorize it to pay

over to the rent receiver funds withheld or escrowed at closing to be utilized to fund the roof

replacement. Alternatively, plaintiff requests that this court authorize plaintiff to advance funds

under terms of the mortgage which would accrue interest at the default rate of interest under the

mortgage note.

         Defendant opposes the motion asserting that defendants have not been consulted about the

need for the replacement or the identity of the contractor or the contract price. Defendants allege,

without any proof, that there is collusion between the plaintiff and the rent receiver. Defendants

acknowledge that “there may be truth” as to the condition of the roof, they still oppose because of

the lack of consultation. Defendants further oppose the use of the escrowed funds because these

funds “would normally be part of a credit towards settlement and refinancing.” The funds held in



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escrow were withheld for a specific purpose or purposes, none of which includes settlement or

refinancing.

       Of course, the establishment of the escrow was not to repair or maintain the subject

property, however, the purpose of the escrow has long been made irrelevant. That is, the purpose

of the escrow was to fund the costs of an extension to April 2020, which did not occur. Thus, the

need for the escrow account no longer exists and the funds are now available for other purposes.

Moreover, the escrowed funds are already included in the amount borrowed, and the use of such

funds would not increase any amounts already subject to the mortgage balance due.

       Thus, under the circumstances, the court will grant plaintiff’s request to utilize the

escrowed funds to pay the costs of the roof replacement.

CONCLUSION

       For the reasons set forth above, the court grants plaintiff’s motion for summary judgment

and dismisses defendants’ counterclaims. Plaintiff’s motion to authorize the sale of the subject

property in advance of final judgment is denied. Defendant’s motion to compel depositions is also

denied. Plaintiff’s motion to approve the use of escrowed funds for the purpose of replacing the

roof at the subject property is granted.



                                             /s/ Kathi F. Fiamingo
                                             KATHI F. FIAMINGO, J.T.C. t/a


Dated: July 15, 2020




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                      EXHIBIT I
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                                                             75 with the                  Court
                                                                           NOV 10, 2020
                                                                 Kathi F. Fiamingo, J.T.C. t/a



PREPARED BY THE COURT
                                                       SUPERIOR COURT OF NEW JERSEY
                                                            CHANCERY DIVISION
PENDER CAPITAL ASSET BASED                                 BURLINGTON COUNTY
LENDING FUND I, LP,
                                                             DOCKET NO. F-002953-19
                              Plaintiff,
              v.                                                   CIVIL ACTION
EVERGREEN PLAZA ASSOCIATES, LLC,                        ORDER SUSTAINING OBJECTION
et al.,
                                                                      IN PART
                              Defendants.

       THIS MATTER having come before the Court on defendant’s objection to plaintiff’s

motion for final judgment and defendant being represented by Riker Danzig Scherer Hyland, et al.

LLP (James B. Daniels, Esq.) and plaintiff being represented by Benesch Friedlander Coplan &

Aronoff (Kevin Capuzzi, Esq.) and the court having reviewed the submissions received from

counsel for the parties, and for good cause shown;

       IT IS on this   10th   day of November 2020 ORDERED:

       1.     That defendant’s objections to plaintiff’s proof of amount due are SUSTAINED in

              part;

       2.     The final judgment will reflect principal balance due as of September 30, 2020 in

              the amount of $6,392,791.61, accrued interest of $2,195,094.74 and per diem

              interest of $3,551.55;

       3.     This action is transferred to the Office of Foreclosure for entry of Final Judgment;

              and
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      4.       That a copy of this Order be served upon all parties of record by via eCourts.



                                                     /s/ Kathi F. Fiamingo
                                                     KATHI F. FIAMINGO, J.T.C., t/a




  X        Opposed.
_______ Unopposed.




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                                                                           NOV 10, 2020
                                                                  Kathi F. Fiamingo, J.T.C. t/a

PREPARED BY THE COURT


PENDER CAPITAL ASSET BASED
                                                       SUPERIOR COURT OF NEW JERSEY
LENDING FUND I, LP,
                                                            CHANCERY DIVISION
                                                           BURLINGTON COUNTY
                               Plaintiff,
               v.
                                                             DOCKET NO. F-002953-19
EVERGREEN PLAZA ASSOCIATES, et al.,
                                                                   CIVIL ACTION
                               Defendants.
                                                            STATEMENT OF REASONS



Kevin Capuzzi, Esq., Benesch, Friedlander, Coplan & Aronoff LLP
      Attorney for Plaintiff.

James B. Daniels, Esq. and Tod S. Chasin, Esq.,
      Riker Danzig Scherer Hyland Perretti, LLP
      Attorney for Defendant.

This application was opposed


REQUESTED RELIEF

       Pending before the court is defendant’s objection to the amount due in plaintiff’s motion

for final judgment. For the reasons set forth herein, the court sustains defendants’ objection and

enters judgment in the amount determined herein.

FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       On March 14, 2018, Evergreen Plaza Associates LLC, Evergreen I Associates LLC,

Evergreen II Associates LLC, and Evergreen III Associates LLC (collectively “defendants”)

executed a promissory note (the “note”) in favor of Pender Capital Asset Based Lending Fund I,


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L.P. (“plaintiff”) in the principal amount of $6,500,000.00. On even date, defendants executed a

Mortgage, Assignment of Rents and Security Agreement (the “mortgage”) to plaintiff

encumbering the real property known as Lot 2 in Block 117.02 on the Tax Map of the Township

of Mount Holly, Lot 4.01 in Block 22 on the Tax Map of the Township of Lumberton, and Lots

2.04 and 2.05 in Block 117.02 on the Tax Map of the Township of Mount Holly and Lot 4.10 in

Block 22.01 on the Tax Map of the Township of Lumberton, being more commonly known as S.

Pemberton Road and 1722 Route 38, Mt. Holly, NJ 08060 (“subject property”). The mortgage

was recorded at the Office of the Burlington County Clerk on April 5, 2018, it is not a purchase

money mortgage. On September 13, 2018, the parties executed an Amendment to the Mortgage.

The amendment was recorded on October 2, 2018.

       Defendants defaulted for failing to make the payments due on December 1, 2018 and

thereafter. On April 1, 2019, the loan came due according to the terms of the note and all amounts

due thereunder became due and payable. Additionally, on June 20, 2019, a Tax Lien Certificate

number 19-00051 was sold for the property located at Block 22, Lot 4.01 on the Lumberton

Township Tax Map also constituting a default under the note and mortgage.

       Plaintiff filed a complaint in foreclosure on February 12, 2019. Defendants filed an answer,

affirmative defenses and counterclaims on June 4, 2019. On June 7, 2019 plaintiff filed a motion

to appoint a rent receiver which was granted on August 26, 2019 over defendants’ objections. On

October 25, 2019, the rent receiver filed a motion to authorize it to retain counsel to represent it

which was granted on November 22, 2019.

       On February 28, 2020, plaintiff filed a motion for summary judgment, to strike defendants’

answer and counterclaims and return the matter to the Office of Foreclosure to proceed as an

uncontested action which was granted on July15, 2020. On that same date the court also granted



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plaintiff’s motion to approve the use of cash collateral/escrow funds held by plaintiff by the rent

receiver to fund the replacement of the roof at the subject property.1

       Plaintiff then filed a motion for final judgment on July 28, 2020. Defendants filed the

within objection to the amount due on August 7, 2020. The court heard argument and directed

plaintiff to provide additional documentation as to the loan payment history which was filed. The

court heard the parties’ argument on October 16, 2020.2

LEGAL ANALYSIS

       R. 4:64-1(d)(1) provides that “[t]he application for entry of judgment shall be accompanied

by proofs as required by R. 4:64-2.”

       R. 4:64-2 in turn provides that:

           (a) Proof required by R. 4:64-1 may be submitted by affidavit, unless
               the court otherwise requires. The moving party shall produce the
               original mortgage, evidence of indebtedness, assignments, claim of
               lien (N.J.S.A. 46:8B-21), and any other original document upon
               which the claim is based. In lieu of an original document, the
               moving party may produce a legible copy of a recorded or filed
               document, certified as a true copy by the recording or filing officer
               or by a New Jersey attorney, or a copy of an original document, if
               unfiled or unrecorded, certified as a true copy by a New Jersey
               attorney.

           (b) If the action is uncontested, the plaintiff shall file with the Office of
               Foreclosure an affidavit of amount due, which shall have annexed a
               schedule as set forth in Appendix XII-J of these rules. The schedule
               shall state the principal due as of the date of default; advances
               authorized by the note or mortgage for taxes, hazard insurance and
               other stated purposes; late charges, if authorized by the note or
               mortgage, accrued to the date of the filing of the complaint; a

1
 Certain other orders were entered by the court which do not impact the matter between the
parties or this instant matter.
2
  In addition to the within motion, several other motions in this matter were heard on October 16,
2020, including a motion to intervene by a third-party creditor, a motion to reconsider prior orders
of the court relating to the appointment of the rent receiver and a motion to remove the rent
receiver.
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                 computation of accrued interest; a statement of the per diem interest
                 accruing from the date of the affidavit; and credit for any payments,
                 credits, escrow balance or other amounts due the debtor.
                 Prejudgment interest, if demanded in the complaint, shall be
                 calculated on rate of interest provided by the instrument of
                 indebtedness. A default rate of interest, if demanded in the
                 complaint and if reasonable, may be used to calculate prejudgment
                 interest from the date of default to the judgment. The schedule shall
                 include notice that there may be surplus money and the procedure
                 for claiming it. The proof of amount due affidavit may be supported
                 by computer-generated entries.

           Thereafter “[a]ny party having the right of redemption who disputes the correctness of the

affidavit of amount due may file with the Office of Foreclosure an objection stating with specificity

the basis of the dispute and asking the court to fix the amount due.” R. 4:64-1(d)(3) [emphasis

added].

          Initially, the court notes that defendants assert that plaintiff should be required to resubmit

its motion to the Office of Foreclosure and that this court should not determine the amount due.

The court rejects defendants interpretation of the court rules governing this action,

          R. 4:64-1(d)(3) provides that [o]n receipt of a specific objection to the calculation of the

amount due, the Office of Foreclosure shall refer the matter to the judge in the county of venue,

who shall schedule such further proceedings . . .” “The court . . . may enter final judgment upon

proofs, as required by R. 4:64-2. The Office of Foreclosure may recommend entry of final

judgment pursuant to R. 1:34-6.” (emphasis added) R. 4:64-1(d)(4).

          R. 1:34-6 permits the Office of Foreclosure to recommend the entry of orders in

uncontested actions. As quite clearly indicated here this matter is contested and has been referred

to this court in accordance with R. 4:64-1(d)(3). The court agrees with defendants’ suggestion

that the court may adjudicate the “issue in dispute” and not necessarily make the computations as

to the “amount in dispute” and direct the Office of Foreclosure to make such calculations. The



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court also finds that it may also perform the necessary calculations to fix the amount due, rather

than direct the office of Foreclosure to do so. In a highly contested and contentious case, such as

this matter, the court finds that it is its obligation to go beyond the issue of the amount due and

instead make the necessary calculations in order that Final Judgment may be entered without

further delay.

       Here defendants assert that plaintiff improperly charged plaintiff for principal borrowed

that was not released to them at closing. Defendants further assert that plaintiff’s demand for

interest on amounts not borrowed is improper and should be denied. Defendants further assert that

monies paid to the plaintiff by the rent receiver have not been properly applied.

       Initially, defendants object to the manner in which the interest has been calculated and the

amount of the outstanding principal. Specifically defendants assert that at closing on March 14,

2018, plaintiff held back the aggregate amount of $1,300,000.          Of the amount held back,

$1,100,000 was to fund the costs of certain repairs and improvements to be made at the subject

property (“Holdback A/C 2”). The remaining $200,000 was held back to “ensur[e] the cost of the

First Extension in the loan documents is available” (“Holdback A/C 1”).             Business Loan

Agreement at 3. Plaintiff has calculated the amount due in this matter by imposing interest on the

entire $6,500,000 from the date of closing, notwithstanding the distribution of held back funds at

later dates. Plaintiff agrees that at closing the two holdback accounts were established in the

amounts and for the purposes indicated by the defendant, but asserts that it is entitled to interest

on the entirety of the principal from the date of closing notwithstanding that amounts were not

distributed from the amounts held back until a later time.

       The Promissory Note in this matter indicates that the defendants borrowed the principal

sum of $6,500,000 and that “[i]nterest will accrue on the outstanding principal balance” at 12%



                                                 7
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per annum. Interest is to be calculated on the basis of a “360-day year consisting of twelve 30-day

months.” Each payment is to be applied first to interest, with any balance applied against principal.

Interest for the period of the disbursement date through the end of the month was due and paid at

closing.3 Thereafter the note provides that beginning May 1, 2018,

               and continuing until and including the monthly installment due on
               the Maturity Date, accrued interest only shall be payable by
               Borrower in consecutive monthly installments due and payable on
               the first day of each calendar month. The amount of the monthly
               installment of interest only payable pursuant to this Section 3(d) on
               a Payment Due Date shall be SIXTY-FIVE THOUSAND AND
               00/100 DOLLARS (US $65,000.00) (assuming no principal
               reduction payments have been made and no other changes to the
               outstanding principal balance have occurred.) The amount of the
               monthly interest only payments shall be adjusted in the event any
               principal payments or other changes to the outstanding principal
               balance are made during the term of the Loan.

               [Promissory Note Paragraph 3(d)]

       In addition to the Promissory Note, on March 14, 2018 the parties entered into a Business

Loan Agreement (“BLA”). The BLA outlined additional terms of the agreements between the

parties relative to the loan. In particular, the BLA provides

               Lender Holdback Accounts: Lender shall maintain hold back
               accounts which shall be held by Lender in various sums for purposes
               outlined below. Lender shall have sole rights to these funds for these
               purposes and shall distribute these funds, at its sole discretion, as
               outlined below. At any time, if the Loan is paid in full with all
               principal, interest, fees and any other amount due Lender, the lender
               Holdback Accounts shall be released to Borrower within 5 business
               days.



3
 Curiously, the closing statement for the loan indicates that interest from “3/08/18 to 04/01/18 @
$2,136.9900/day” was paid at $51,287.76. Even assuming the full $6,500,000 is the correct
amount of principal for this calculation and ignoring the fact that the disbursement date was March
14, 2018 and not March 8, 2018, 12 days of interest at $2,136.99 per day is $25,643.88, exactly
one-half of the amount charged. Defendants did not object to this curious and seemingly incorrect
calculation; plaintiff did not have an opportunity to respond to that and, as a result, the court will
not make any changes to that charge.
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              Lender Holdback Account #1. Lender shall maintain a hold back
              account for the purpose of ensuring the cost of the First Extension
              in the Loan documents is available. This account shall be used at
              the Lender’s sole discretion for the following:

                      1) Payment of said Extension fee and processing fee to
                         Lender, at request of Borrower on or before the end of
                         business on the 60th calendar day prior to the end of the
                         original loan Term.
                      2) Payment of said Extension fee and processing fee to
                         Lender, without requiring further Borrower request,
                         permission or approval other than this document, on or
                         before the final day of the Loan Term, if funds are not
                         received in full for payment of all loan principal, interest
                         and fees by 5PM Pacific Time by Lender.

              Lender Holdback Account #2. Lender shall maintain a hold back
              account for the purpose of ensuring the general welfare of the
              property. This account shall be used at the Lender’s sole discretion
              for the following:

                      1) Lender approved repairs and improvements. Payments
                         must be requested by Lender from said Lender Holdback
                         Account #2 accompanied by Lender approved vendor
                         package, including but not limited to insurance, bonding,
                         licensing, invoice, contract and any other documents or
                         information requested by lender.

                      2) Property preservation, legal expenses and management.
                         If under the Loan documents, Lender chooses at its sole
                         discretion to pursue its right to manage, engage third
                         party management, enforce assignment of leases and
                         rents or any other rights, the cost of such action shall be
                         funded from Lender Holdback Account #2, without
                         further Borrower request, permission or approval.

              [Business Loan Agreement at 3-4]

       Defendants assert that plaintiff is accruing interest on the entire principal amount

notwithstanding the amounts held back were not distributed until some time after closing, and in

the case of Holdback A/C #1, amounts remain held back and have not yet been distributed. While

acknowledging the fact that the amounts held back were not actually paid out until a later date,


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and that all of the funds have yet to be distributed to defendants, plaintiff nonetheless asserts that

it is entitled to accrue interest on the entirety of the principal amount of the note from the date of

closing, and that it need only credit defendants with any amount not distributed, after the total

amount of the principal, plus interest is included in the final judgment. The court does not agree.

       It is unquestioned that “[t]he settled rule is that except where the mortgagee holds money

for disbursement to the mortgagor at the latter’s call at an earlier date, pursuant to agreement,

interest is not payable until the mortgage moneys are actually advanced.” Congdon v. Jersey

Const. Co., 55 N.J. Super. 571, 576-77 (App. Div. 1959) (citing Homestead Bldg. Co. v. Waverly

Building & Loan Ass’n, 99 N.J.L. 276 (E.&A. 1923). Both defendants and plaintiff acknowledge

the foregoing statement of law, but differ in its application.

       The language of both holdback accounts quite clearly demonstrate that the Lender had

complete control about whether and when held back amounts would be paid out. The introductory

paragraph provides that “Lender shall have sole rights to these funds for these purposes and shall

distribute these funds, at its sole discretion, as outlined below.” BLA at 3. The language

establishing both Holdback A/C#1 and Holdback A/C#2 specify that, “[t]his account shall be used

at the Lender’s sole discretion for the following . . .” Plaintiff counters that the mortgage document

grants plaintiff a secured interest in the mortgaged property which includes “all undisbursed

proceeds of the Loan.” While the court agrees that plaintiff has a secured interest in loans it has

yet to pay out, that begs the question on whether interest is to accrue on the entire balance

notwithstanding the fact that the amounts held back do not constitute “outstanding principal.”

       The promissory note provides only that “[i]nterest will accrue on the outstanding principal

balance of this Note.” Promissory Note at 3(b). Nowhere in the Note does it indicate that interest

is to accrue on the entire amount of the note, whether or not disbursed. Neither does the note



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indicate that principal held back is nonetheless “outstanding.” Further, the BLA references

“advances” to be made and indicates that the “Initial Advance and each subsequent Advance . . .

shall be subject to the fulfillment to Lender’s satisfaction of all of the conditions set forth in [the

BLA].” BLA at 1. Advance is defined in the BLA as “a disbursement of Loan funds made, or to

be made, to Borrower under the terms and conditions of [the BLA].” BLA at 8.

       Reconciling the holding of Congdon with the language of the Promissory Note and BLA,

including the ultimate discretion provided to plaintiff in the BLA as to whether, how and in what

amounts the amounts held back were to be paid out, leads the court to conclude that interest should

not accrue on the held back account amounts until and unless disbursed. The court will recalculate

the amount of the final judgment accordingly. The court finds the facts of Kuerzi v. Scott, 74 N.J.

Eq. 218 (Ch. Ct. 1908) to be distinguishable. There the lender held the entire amount of the loan

at the ready for borrowers use, subject only to the borrower’s call for the funds. Here the use of

the funds was subject to the discretion of the lender upon the satisfaction of various conditions as

set by the Lender. 4

       The Promissory Note also provides for a default rate of interest, of “eight percentage points
(8%) above the Fixed Interest Rate.” Promissory Note at 1(a). The Promissory Note further
provides that “[s]o long as (i) any monthly installment under this Note remains past due for thirty
(30) days or more . . . interest under this Note shall accrue on the unpaid principal balance from
the Payment Due Date of the first such unpaid monthly installment . . . at the Default Rate.”
Promissory Note at 8(a).
       Our Supreme Court has held that contractual provisions calling for a higher rate of interest

following default are in the nature of stipulated damages and are enforceable only if the default

interest rate is reasonable under the totality of the circumstances. See MetLife Capital Fin. Corp.



4
  Notably plaintiff does not aver that the funds representing those “held back” were actually set
aside for the benefit of the defendants in escrow accounts or otherwise.
                                                  11
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v. Wash. Ace. Assos. LP, 159 N.J. 484, 495 (1999). “Default interest rates . . . are presumed

reasonable.” Id. at 501. Here defendant did not object to the imposition of the default rate of

interest. Its reasonableness is presumed and nothing to the contrary has been presented to the

court.

         Defendants assert that the amount paid to the plaintiff by the rent receiver was not properly

accounted for. Plaintiff applied this amount to reduce accrued interest. The court finds that such

accounting is proper and in accord with the agreement of the parties. The court will take such

payment into account by applying it against the recalculated amount of accrued interest.

Defendants’ objection to the payment of any amount to the plaintiff from the rent receiver has been

the subject of a separate motion and has been addressed by the court.

         On the basis of the foregoing, the court has recalculated that amount of principal and

interest due and has attached to this statement of reasons that calculation. The court sustains

defendants’ objection to the amount due in part, in accordance with that calculation. Defendants’

objection to the payment and application of the amount received by plaintiff from the rent receiver

is overruled, except as may be affected by the recalculation of accrued interest and the application

of that payment to accrued interest.

         The court finds the following:

Principal balance:              $ 6,392,791.61

Interest to 9/30/20:              2,195,095.74 (includes default interest from and after 12/1/18)

Total amount Due:               $ 8,587,887.36

Per diem interest at 20% from 10/1//20:        $3,551.55

         The manner in which the court has made this determination is attached.




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CONCLUSION

       For the reasons set forth above, the court sustains defendant’s objections and sets the

amount of principal due as of 9/30/20 at $6,392,791.61, accrued interest to 9/30/20 at

$2,195,094.74 and per diem interest due from that date at $3,551.55.

       Final judgment will be entered in that amount, subject to the review of the procedural

requirements by the Office of Foreclosure, as well as any other amounts claimed due for taxed

costs, attorney’s fees and other amounts to which plaintiff may be entitled by the Rules of Court.



                                             /s/ Kathi F. Fiamingo
                                             KATHI F. FIAMINGO, J.T.C. t/a


Dated: November 10, 2020
This motion was opposed




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                                                                                                                                     Accumulated
Date         Description                           Amount            Principal Payment Principal balance      Interest               Interest            Late Charge
             Amount of mortgage                         6,500,000.00

             Less holdbacks                             (1,100,000.00)
                                                          (200,000.00)
                                                         5,200,000.00

  4/1/2018   Principal balance                                                                 5,200,000.00
 4/20/2018   Interest accrued 4/1 to 4/20                                                                                34,666.67         34,666.67
 4/20/2018   Disbursement                                  244,601.00                          5,444,601.00
 4/30/2018   Interest accrued 4/20 to 4/30                                                                               18,148.67         52,815.34
 4/30/2018   Disbursement                                   30,000.00                          5,474,601.00
 5/11/2018   Payment                                        65,000.00        (12,184.66)       5,462,416.34          (52,815.34)                (0.00)
 5/11/2018   Late Charge                                                                                                                                               6,500.00
 5/11/2018   Interest acrrued 5/1/18 t0 5/11/18                                                                          20,028.86         20,028.86
 5/11/2018   Disbusement                                   244,601.00                          5,707,017.34
 5/22/2018   Interest accrued 5/11/18 to 5/22/18                                                                         20,925.73         40,954.59
 5/22/2018   Disbursement                                   10,000.00                          5,717,017.34
 5/29/2018   Interest accrued 5/22/18 to 5/29/18                                                                         13,339.71         54,294.30
 5/29/2018   Disbursement                                  244,601.00                          5,961,618.34
 5/30/2018   Interest accrued 5/29/18 to 5/30/18                                                                       1,987.21            56,281.50
  6/1/2018   Payment                                        65,000.00         (8,718.50)       5,952,899.84          (56,281.50)                0.00
  6/1/2020   Disbursement                                   65,000.00                          6,017,899.84
  6/6/2018   Interest 6/1/18 to 6/6/18                                                                                   12,035.80         12,035.80
  6/6/2018   Disbursement                                   15,000.00                          6,032,899.84
 6/30/2018   Interest                                                                                                    48,263.20         60,299.00
  7/1/2018   Payment                                        71,500.00         (4,701.00)       6,028,198.84              60,299.00              0.00                   (6,500.00)
 7/30/2018   Interest                                                                                                    60,281.99         60,281.99
  8/1/2018   Payment                                        65,000.00         (4,718.01)       6,023,480.82              60,281.99             (0.00)
 8/21/2018   Interest 8/1/18 to 8/21/18                                                                                  42,164.37         42,164.37
 8/21/2018   Disbursement                                  236,000.00                          6,259,480.82
 8/30/2018   Interest 8/21/18 to 8/30/18                                                                                 18,778.44         60,942.81                   6,500.00
 9/14/2018   Interest 9/1/18 to 9/14/18                                                                                  29,210.91         90,153.72
 9/14/2018   Disbursement                                   10,197.00                          6,269,677.82
 9/17/2018   Payment (due 9/1/18)                           71,500.00                                                (65,000.00)            25,153.72                  (6,500.00)
 9/30/2018   Interest 9/14/18 to 9/30/18                                                                              33,438.28             58,592.00
10/10/2018   Payment (due 10/1/18)                          65,000.00         (6,408.00)       6,263,269.82          (58,592.00)                 0.00
10/30/2018   Interest 10/1/18 to 10/31/18                                                                             62,632.70             62,632.70
11/10/2018   Payment (due 11/1/18)                          65,000.00         (2,367.30)       6,260,902.52          (62,632.70)                (0.00)
11/30/2018   Interest 11/1/18 to 11/30/18                                                                             62,609.03             62,609.02
12/31/2018   Interest 12/1/18 to 12/31/18 @ 20%                                                                      104,348.38            166,957.40
12/31/2019   Interest 1/1/19 to 12/31/19 @20%                                                                      1,252,180.50          1,419,137.90
  3/1/2020   Interest 1/1/20 to 2/29/20 @20%                                                                         208,696.75          1,627,834.65
 3/10/2020   Interest 3/1/20 to 3/10/20 @20%                                                                          34,782.79          1,662,617.45
 3/10/2020   Payment                                       166,421.05                                               (166,421.05)         1,496,196.40
 3/30/2020   Interest 3/10/20 to 3/31/20 @20%                                                                         69,565.58          1,565,761.98
 6/30/2020   Interest 4/1/20 to 6/30/20@20%                                                                          313,045.13          1,878,807.11
 7/22/2020   Interest 6/30/20 to 7/22/20@20%                                                                          76,522.14          1,955,329.25
 7/22/2020   Disbursement                                   59,193.83                          6,320,096.35
 7/30/2020   Interest 7/22/20 to 7/30/22@20%                                                                             28,089.32       1,983,418.57
 8/17/2020   interest 8/1/20 to 8/17/20@20%                                                                              59,689.80       2,043,108.36
 8/17/2020   Disbursement                                   25,811.00                          6,345,907.35
 8/30/2020   Interest 8/17/20 to 8/30/20@20%                                                                             45,831.55       2,088,939.92
 9/15/2020   Interest 9/1/20 t 9/15/20@20%                                                                               52,882.56       2,141,822.48
 9/15/2020   Disbursement                                   46,884.26                          6,392,791.61
 9/30/2020   Interest 9/15/20 to 9/30/20@20%                                                                             53,273.26       2,195,095.74



 10/1/2020 Principal Balance                             6,392,791.61
 9/30/2020 Accured Interest                              2,195,095.74

 10/1/2020 Total Principal & Interest                    8,587,887.36

             Per Diem Interest from 10/1/20
             at 20%                                          3,551.55




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                      EXHIBIT J
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                          SUPERIOR COURT OF NEW JERSEY
                                 OFFICE OF FORECLOSURE
                                              Cost Sheet




                                            Chancery Division

 Docket No. SWC-F-002953-19                                                              County:BURLINGTON




                                          Attorney's Allowance by Statute      50.00
                                                   Filing Fees Paid to Clerk   250.00
                                    Counsel Fees Allowed Under R.4:42-9        7500.00
                                                    Sheriff Fees for Service   0.00
                                    Search Costs Allowed Under R.4:42-10       500.00
                                             Printing Costs for Publication    0.00
                                                 Cost of Filing Lis Pendens    0.00
                                                                    Motions    100.00
                  Costs on Application for Writ of Execution (if applicable)   0.00
                                                                      Other    0.00
                                                                 Total Costs   8400.00


         Date Taxed and Filed:   11/13/2020



                    Attorney:
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Attorneys for Plaintiff Pender Capital Asset Based Lending Fund I, LP


 PENDER CAPITAL ASSET BASED
 LENDING FUND I, LP,
                                                SUPERIOR COURT OF NEW JERSEY
               Plaintiff,                       CHANCERY DIVISION: BURLINGTON
                                                COUNTY
 v.
                                                Docket No. SWC-F-002953-19
 EVERGREEN PLAZA ASSOCIATES LLC,
 EVERGREEN I ASSOCIATES LLC,                    Civil Action – Foreclosure
 EVERGREEN II ASSOCIATES LLC, and
 EVERGREEN III ASSOCIATES, LLC,                 FINAL JUDGMENT OF FORECLOSURE

               Defendants.


       Upon motion to the Court by Plaintiff Pender Capital Asset Based Lending Fund I, LP

(“Plaintiff”), by and through its counsel; and it appearing that the Summons and Complaint in

Foreclosure were duly issued and served upon Defendants Evergreen Plaza Associates LLC,

Evergreen I Associates LLC, Evergreen II Associates LLC, and Evergreen III Associates, LLC

(together, “Defendants”) in accordance with the Rules of Civil Practice Governing the Courts of

the State of New Jersey; and the Court ordering summary judgment against Defendants on July

15, 2020.

       And it appearing that the Note dated March 14, 2018 and the Mortgage dated March 18,

2018, have been presented and marked as exhibits by the Court; and that proofs have been
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submitted of the amounts due thereon; and that there is due and owing to Plaintiff, as more

particularly described in the Note and Mortgage, the aggregate sum of $8,340,659.20

$8,591,437.90, as of July 31, 2020 September 30, 2020, with lawful interest computed thereafter

on the total sum due Plaintiff until the same be paid and satisfied, plus costs to be taxed and counsel

fees;

        IT IS on this 13th day of November, 2020;

         1.    ORDERED AND ADJUDGED that Plaintiff is entitled to have first the sum of

 $8,340,659.20 $8,591,437.90, with lawful interest from December 1, 2018 the date of final

 judgment, until the same be paid and satisfied, plus costs of this suit to be taxed ($850.00) and

 attorney’s fees ($7,500.00) in the aggregate amount of $8,350.00, all to be raised and paid out

 of those certain tracts, lots, and parcels of land situate and lying in the Townships of Mount

 Holly and Lumberton, Burlington County, known as (i) Lot 2 in Block 117.02 on the Township

 of Mount Holly Tax Map and Lot 4.01 in Block 22 on the Township of Lumberton Tax Map and

 (ii) Lot 2.04 and Lot 2.05 in Block 117.02 on the Township of Mount Holly Tax Map and Lot

 4.10 in Block 22.01 on the Township of Lumberton Tax Map, being commonly known as S.

 Pemberton Road and 1722 Route 38, Mt. Holly, NJ 08060 (collectively, the “Property” or the

 “Mortgaged Premises”) and collateral; and it is

         2.    FURTHER ORDERED AND ADJUDGED that Plaintiff, its successors and/or

 assigns, or any purchaser at the foreclosure sale duly recover against Defendants, and all parties

 holding by, though, or claiming under them, possession of the premises and collateral mentioned

 and described in the Complaint in Foreclosure with the appurtenances thereon and that a Writ of

 Possession issue thereon; and it is




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        3.       FURTHER ORDERED AND ADJUDGED that the Mortgaged Premises be sold

to raise and satisfy the amounts due to Plaintiff, or its successors and assigns, and that, for that

purpose, an execution duly issue out of this Court directed to the Sheriff of Burlington County

commanding him or her to make a sale, according to law, of the Mortgaged Premises and collateral,

and out of the monies arising from the sale that he or she pay Plaintiff, or its successors and assigns

or its attorney, the amounts due and owing to Plaintiff until such amounts are paid in full and

satisfied; and that in case more money shall be realized by such sale than shall be necessary to

satisfy such indebtedness to Plaintiff, that such surplus be brought into this Court and deposited

with the Clerk to abide the further order of this Court and that the Sheriff make his or her report

of the aforesaid sale without delay as required by the Rules Governing the Courts of the State of

New Jersey; and it is

        4.       FURTHER ORDERED AND ADJUDGED that this Final Judgment shall not affect

the rights of persons protected by the New Jersey Tenant Anti-Eviction Act (N.J.S.A. 2A:18-68.l

et. seq., if any; and it is

        5.       FURTHER ORDERED AND ADJUDGED that Defendants, and their heirs,

successors and assigns, stand absolutely debarred and foreclosed of and from all equity of

redemption of, in and to the Mortgaged Premises and collateral described in the Complaint in

Foreclosure when sold by virtue of this Final Judgment, except as provided by 28 U.S.C. § 2410.


                                               /s/Kathi F. Fiamingo, J.T.C. t/a
                                               Respectfully Recommended
                                               R. 1:34-6 OFFICE OF FORECLOSURE




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       Recorded in the Office         Filed 12/28/21
                              of the Superior Court ClerkEntered
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                                                                  5 Writ #20005939           Desc
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 Attorneys for Plaintiff Pender Capital Asset Based Lending Fund I, LP


  PENDER CAPITAL ASSET BASED
  LENDING FUND I, LP,
                                                    SUPERIOR COURT OF NEW JERSEY
                 Plaintiff,                         CHANCERY DIVISION: BURLINGTON
                                                    COUNTY
  v.
                                                    Docket No. SWC-F-002953-19
  EVERGREEN PLAZA ASSOCIATES LLC,
  EVERGREEN I ASSOCIATES LLC,                       Civil Action – Foreclosure
  EVERGREEN II ASSOCIATES LLC, and
  EVERGREEN III ASSOCIATES, LLC,                    WRIT OF EXECUTION

                 Defendants.


                              THE STATE OF NEW JERSEY TO THE

                       SHERIFF OF THE COUNTY OF BURLINGTON

                                          GREETINGS:

       WHEREAS, on the 13th day of November, 2020, by a certain judgment made in our

Superior Court of New Jersey in a certain cause therein pending wherein Pender Capital Asset

Based Lending Fund I, LP (“Plaintiff”) is the plaintiff and Evergreen Plaza Associates LLC,

Evergreen I Associates LLC, Evergreen II Associates LLC, and Evergreen III Associates LLC

(together, “Defendants”) are the defendants, it was ordered and adjudged that certain mortgaged

premises with the appearances and collateral particular set forth and described in the Complaint in
          SWC F 002953-19         11/13/2020            Pg 2 of 5 Trans ID: CHC2020263187
Case 21-17116-CMG      Doc 144-3
       Recorded in the Office         Filed 12/28/21
                              of the Superior Court ClerkEntered
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                                                                  5 Writ #20005939                 Desc
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Foreclosure, that is to say: all those certain tracts, lots, and parcels of land situate and lying in the

Townships of Mount Holly and Lumberton, Burlington County, known as (i) Lot 2 in Block 117.02

on the Township of Mount Holly Tax Map and Lot 4.01 in Block 22 on the Township of

Lumberton Tax Map and (ii) Lot 2.04 and Lot 2.05 in Block 117.02 on the Township of Mount

Holly Tax Map and Lot 4.10 in Block 22.01 on the Township of Lumberton Tax Map, being

commonly known as S. Pemberton Road and 1722 Route 38, Mt. Holly, NJ 08060, the real

property as more particularly described on Exhibit A attached hereto and made a part hereof.

        TOGETHER with all and singular the rights, liberties, privileges, hereditaments, and

appurtenances thereunto belonging or in anywise appertaining, and the reversion and remainders,

rents, issues, and profits thereof, and also all the estate, right, title, interest, use, property, claim,

and demand of Defendants of, in, to and out of the same, and all collateral, including, but not

limited to, fixtures, be sold to pay and satisfy in the first place unto Plaintiff Pender Capital Asset

Based Lending Fund I, LP the aggregate sum of $8,349,009.20 $8,591,437.90 as of July 31, 2020

September 30, 2020, which is secured by a certain mortgage dated March 14, 2018 and given by

Evergreen Plaza Associates LLC, Evergreen I Associates LLC, Evergreen II Associates LLC, and

Evergreen III Associates LLC, together with lawful interest computed thereafter on the total sum

due Plaintiff until the same be paid and satisfied, and also the costs and attorneys’ fees of the

aforesaid Plaintiff, with interest thereon;

        AND that, for that purpose, a Writ of Execution should issue, directed to the Sheriff of the

County of Burlington, commanding him or her to make the sale as aforesaid; and that the surplus

money arising from such sale, if any there be, should be brought into said Court and deposited

with the Clerk, subject to the further order of the said Court as by the said judgment remaining as

of record in our said Superior Court of New Jersey, at Trenton, doth and may more fully appear;




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        WHEREAS, the costs of the said Plaintiff including attorneys’ fees have been duly taxed

in the amount of $8,400.00;

        THEREFORE, you are hereby commanded that you cause sale to be made of the premises

and collateral, by selling so much of the same as may be needful and necessary for the purpose, to

raise for Plaintiff said sum of $8,340,659.20 $8,591,437.90 as of July 31, 2020 September 30,

2020, with lawful interest thereafter, plus costs and attorneys’ fees in the amount of $8,400.00,

and that you have the surplus money, if any there be, before the Superior Court of New Jersey

aforesaid at Trenton, within thirty (30) days after the sale to abide the further order of the said

court, according to the judgment aforesaid; and you are to make return of the time and place

aforesaid, by certificate under your hand, of the manner in which you have executed this our Writ,

together with this Writ. If there is no sale, the Writ shall be returnable within twenty-four (24)

months in accordance with Rule 4:59-l(a).

        WITNESS, the Honorable Kathi F. Fiamingo, J.T.C. t/a, a Judge of the Superior Court of

New Jersey, at Mount Holly, New Jersey, aforesaid this 13th day of November, 2020.



Benesch, Friedlander, Coplan &                              Clerk of the Superior Court
Aronoff LLP
Attorneys for Plaintiff

By:    /s/ Kevin M. Capuzzi                                 By:    /s/ Michelle M. Smith, Esq.
      KEVIN M. CAPUZZI                                            MICHELLE M. SMITH, ESQ.
                                                                  Clerk of the Superior Court

                                          Signed and Sealed in the Superior Court of New Jersey




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                      EXHIBIT K
             Case
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                                   Block/Lot/Qual: 22. 4.01                                   Tax Account Id: 2319

                                 Property Location: 1710 ROUTE 38                             Property Class: 4A - Commercial

                              Owner Name/Address: EVERGREEN I ASSOCIATES, LLC                    Land Value:          2,221,000
                                                       C\O VANICK PROPERTIES INC          Improvement Value:          4,779,000
                                                       477 COLONIAL ROAD                       Exempt Value:                 0
                                                       RIDGEWOOD, NJ 07450              Total Assessed Value: 7,000,000

                                                                                              Additional Lots: None

                           Special Taxing Districts:                                             Deductions:




                                        This Property is in Bankruptcy | There is a Lien on this Property

                      Taxes     Liens


                       Make a Payment            View Tax Rates     View Current Bill     Project Interest


                      Year Due Date        Type                   Billed      Balance         Interest       Total Due       Status
                      2022 02/01/2022      Tax               42,665.00       42,665.00            0.00        42,665.00       OPEN
                      2022 05/01/2022      Tax               42,665.00       42,665.00            0.00        42,665.00       OPEN
                              Total 2022                    85,330.00       85,330.00             0.00       85,330.00
                      2021 02/01/2021      Tax                42,297.50            0.00           0.00             0.00           PAID
                      2021 05/01/2021      Tax                42,297.50            0.00           0.00             0.00           PAID
                      2021 08/01/2021      Tax               43,032.50             0.21           0.01             0.22       OPEN
                      2021 11/01/2021      Tax               43,032.50       43,032.50        1,226.43        44,258.93       OPEN
                              Total 2021                   170,660.00       43,032.71        1,226.44        44,259.15
                      2020 02/01/2020      Tax               41,825.00             0.00           0.00             0.00           PAID
                      2020 05/01/2020      Tax               41,825.00             0.00           0.00             0.00           PAID
                      2020 08/01/2020      Tax               43,505.00             0.00           0.00             0.00           PAID
                      2020 11/01/2020      Tax               42,035.00             0.00           0.00             0.00           PAID
                              Total 2020                   169,190.00             0.00            0.00            0.00

                       Last Payment: 09/09/21


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             Case
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                                   Block/Lot/Qual: 22. 4.02                                    Tax Account Id: 2320

                                 Property Location: ROUTE 38                                    Property Class: 1 - Vacant Land

                           Owner Name/Address: EVERGREEN II ASSOCIATES, LLC                        Land Value:           1,426,400
                                                      C/O VANICK PROPERTIES, INC          Improvement Value:                    0
                                                      477 COLONIAL RD                           Exempt Value:                   0
                                                      RIDGEWOOD, NJ 07450                 Total Assessed Value: 1,426,400

                                                                                               Additional Lots: None

                          Special Taxing Districts:                                                Deductions:




                                        This Property is in Bankruptcy | There is a Lien on this Property

                      Taxes     Liens


                        Make a Payment           View Tax Rates       View Current Bill    Project Interest


                      Year Due Date        Type                   Billed       Balance        Interest    Total Due            Status
                      2022 02/01/2022      Tax                8,693.91         8,693.91           0.00        8,693.91           OPEN
                      2022 05/01/2022      Tax                8,693.91         8,693.91           0.00        8,693.91           OPEN
                              Total 2022                   17,387.82        17,387.82             0.00    17,387.82
                      2021 02/01/2021      Tax                8,619.03             0.00           0.00           0.00            PAID
                      2021 05/01/2021      Tax                8,619.02             0.00           0.00           0.00            PAID
                      2021 08/01/2021      Tax                8,768.79             0.00           0.00           0.00            PAID
                      2021 11/01/2021      Tax                8,768.79             0.00           0.00           0.00            PAID
                              Total 2021                   34,775.63               0.00           0.00           0.00
                      2020 02/01/2020      Tax                8,522.74             0.00           0.00           0.00            PAID
                      2020 05/01/2020      Tax                8,522.74             0.00           0.00           0.00            PAID
                      2020 08/01/2020      Tax                8,865.08             0.00           0.00           0.00            PAID
                      2020 11/01/2020      Tax                8,565.53             0.00           0.00           0.00            PAID
                              Total 2020                   34,476.09               0.00           0.00           0.00

                       Last Payment: 11/01/17


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             Case
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                                   Block/Lot/Qual: 22.01 4.10                                  Tax Account Id: 2511

                                 Property Location: 1722 ROUTE 38                               Property Class: 1 - Vacant Land

                           Owner Name/Address: EVERGREEN III ASSOCIATES, LLC                       Land Value:            200,000
                                                      C/O VANICK PROPERTIES, INC.         Improvement Value:                   0
                                                      477 COLONIAL ROAD                         Exempt Value:                  0
                                                      RIDGEWOOD, NJ 07450                 Total Assessed Value: 200,000

                                                                                               Additional Lots: None

                          Special Taxing Districts:                                                Deductions:




                                         This Property is in Bankruptcy | There is a Lien on this Property

                       Taxes     Liens


                        Make a Payment             View Tax Rates     View Current Bill     Project Interest


                       Year Due Date         Type               Billed        Balance        Interest     Total Due          Status
                       2022 02/01/2022       Tax             1,219.00         1,219.00            0.00         1,219.00        OPEN
                       2022 05/01/2022       Tax             1,219.00         1,219.00            0.00         1,219.00        OPEN
                               Total 2022                   2,438.00        2,438.00             0.00      2,438.00
                       2021 02/01/2021       Tax             1,208.50             0.00            0.00            0.00         PAID
                       2021 05/01/2021       Tax             1,208.50             0.00            0.00            0.00         PAID
                       2021 08/01/2021       Tax             1,229.50             0.00            0.00            0.00         PAID
                       2021 11/01/2021       Tax             1,229.50             0.00            0.00            0.00         PAID
                               Total 2021                   4,876.00             0.00            0.00             0.00
                       2020 02/01/2020       Tax             1,195.00             0.00            0.00            0.00         PAID
                       2020 05/01/2020       Tax             1,195.00             0.00            0.00            0.00         PAID
                       2020 08/01/2020       Tax             1,243.00             0.00            0.00            0.00         PAID
                       2020 11/01/2020       Tax             1,201.00             0.00            0.00            0.00         PAID
                               Total 2020                   4,834.00             0.00            0.00             0.00

                        Last Payment: 02/07/19


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             Case
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                             Block/Lot/Qual: 117.02 2.                                   Tax Account Id: 2896

                           Property Location: 1710 ROUTE 38                               Property Class: 1 - Vacant Land

                       Owner Name/Address: EVERGREEN I ASSOCIATES, LLC                       Land Value:             350,000
                                               477 COLONIAL ROAD                    Improvement Value:                    0
                                               RIDGEWOOD, NJ 07450                        Exempt Value:                   0
                                                                                    Total Assessed Value: 350,000

                                                                                         Additional Lots: None

                      Special Taxing Districts: FIRE DISTRICT 1                              Deductions:




                                                    There is a Lien on this Property

               Taxes      Liens


                 Make a Payment            View Tax Rates       View Current Bill     Project Interest


               Year Due Date         Type                   Billed       Balance        Interest     Total Due            Status
               2022 02/01/2022       Tax               2,786.88          2,786.88            0.00         2,786.88         OPEN
               2022 05/01/2022       Tax               2,786.87          2,786.87            0.00         2,786.87         OPEN
                       Total 2022                    5,573.75           5,573.75            0.00         5,573.75
               2021 02/01/2021       Tax              3,455.11               0.00            0.00            0.00              PAID
               2021 05/01/2021       Tax              3,455.10               0.00            0.00            0.00              PAID
               2021 08/01/2021       Tax              1,936.65               0.00            0.00            0.00              PAID
               2021 11/01/2021       Tax              2,300.64               0.00            0.00            0.00              PAID
                       Total 2021                   11,147.50                0.00           0.00             0.00
               2020 02/01/2020       Tax               3,377.23              0.00            0.00            0.00              PAID
               2020 05/01/2020       Tax               3,377.22              0.00            0.00            0.00              PAID
               2020 08/01/2020       Tax               3,397.54              0.00            0.00            0.00              PAID
               2020 11/01/2020       Tax              3,668.43               0.00            0.00            0.00              PAID
                       Total 2020                   13,820.42                0.00           0.00             0.00

                Last Payment: 12/09/21


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             Case
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                            Block/Lot/Qual: 117.02 2.04                                 Tax Account Id: 2901

                          Property Location: S PEMBERTON RD                              Property Class: 1 - Vacant Land

                      Owner Name/Address: EVERGREEN III ASSOCIATES, LLC                     Land Value:           50,000
                                               400 BROADWAY                        Improvement Value:                 0
                                               NEW YORK, NY 10013                        Exempt Value:                0
                                                                                   Total Assessed Value: 50,000

                                                                                        Additional Lots: L2.05

                     Special Taxing Districts: FIRE DISTRICT 1                              Deductions:




                                                     There is a Lien on this Property

               Taxes      Liens


                  Make a Payment            View Tax Rates     View Current Bill     Project Interest


               Year Due Date          Type              Billed         Balance        Interest     Total Due        Status
               2022 02/01/2022        Tax               398.13           398.13            0.00         398.13        OPEN
               2022 05/01/2022        Tax               398.12           398.12            0.00         398.12        OPEN
                       Total 2022                      796.25           796.25            0.00          796.25
               2021 02/01/2021        Tax               495.89             0.00            0.00           0.00        PAID
               2021 05/01/2021        Tax               495.88             0.00            0.00           0.00        PAID
               2021 08/01/2021        Tax               274.37             0.00            0.00           0.00        PAID
               2021 11/01/2021        Tax               326.36             0.00            0.00           0.00        PAID
                       Total 2021                    1,592.50             0.00            0.00            0.00
               2020 02/01/2020        Tax               484.71             0.00            0.00           0.00        PAID
               2020 05/01/2020        Tax               484.70             0.00            0.00           0.00        PAID
               2020 08/01/2020        Tax               487.62             0.00            0.00           0.00        PAID
               2020 11/01/2020        Tax               526.50             0.00            0.00           0.00        PAID
                       Total 2020                    1,983.53             0.00            0.00            0.00

                 Last Payment: 09/03/20


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